      Case 2:11-cr-20551-RHC-MKM ECF No. 1565, PageID.16138 Filed 12/12/16 Page 1 of 1
 MIE 1A                               Order of the Court to Continue Supervision
 Revised 07/12
                                      UNITED STATES DISTRICT COURT
                                                    for the
                                          Eastern District of Michigan


 UNITED STATES OF AMERICA

                  v.

 MIAN, Mohammad                                                       Crim. No.: 11-CR-20551-29


On 07/18/2016 the Court authorized the issuance of a supervised release warrant based upon a violation petition
citing violations of supervision. The issues of the violations were heard in Court on 12/05/2016, and the Court
made the following findings:
  X    Guilty of violating condition(s) of supervision. The following special conditions of supervision are
       added.

       Remain at the RRC for an additional 90 days or until March 8, 2017.

       The offender shall notify the United States Probation Officer (USPO) immediately (ie. within no later
       than 72 hours) if the offender receives any prescription for medication containing a controlled substance
       during the period of supervised release. The offender shall provide the USPO such documentation and
       verification as the USPO may reasonably request and in a form the USPO directs.

       The defendant shall take all medications as prescribed by a physician whose care he is under, including a
       psychiatrist, in the dosages and at the times proposed. If the defendant is prescribed a medication, he
       shall take it, and the defendant shall not discontinue medications against medical advice.

       The defendant shall participate in a program approved by the probation department for mental health
       counseling.
                                                          Respectfully submitted,
                                                               s/Wyndi F. Surdu
                                                               United States Probation Officer
                                                               (313) 234-5432


                                            ORDER OF THE COURT

                 Pursuant to the above, it is ordered that the pending violation matter be resolved and
                 supervision in this case be continued. All conditions imposed at the time of
                 sentencing, along with any subsequent modifications to those conditions, remain in
                 effect.
                       Dated this 5th Day of December, 2016.

                                                                 S/Robert H. Cleland
                                                                 Robert H. Cleland
                                                                 United States District Judge
